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                                 Richard Winger Curriculae Vitae
                                        3201 Baker Street
                                 San Francisco, California 94123
                                     Updated Sep. 15, 2013

EDUCATION
    BA, Political Science, University of California, Berkeley, 1966
    Graduate study, Political Science, UCLA, 1966-67

EMPLOYMENT
    Ballot Access News, Editor 1985-Present
    Editor of newsletter covering legal, legislative and political developments of interest to
    minor parties and independent candidates. Researcher of ballot access laws of all 50 states
    from years 1888-present; well versed in how ballot access laws of each state work
    historically and how they compare to each other. Responsible for reading all statutes,
    regulations, legal opinions, and state attorney general opinions on rights of political parties
    and the publications of minor parties.

       On the Editorial Board of Election Law Journal, published by Mary Ann Liebert, Inc.,
       Larchmont, N.Y., since 2001.

PUBLICATIONS
     Wrote a chapter or two in each of these books:

       America Votes! A Guide to Modern Election Law and Voting Rights, 2nd edition, 2012,
       published by the American Bar Association’s Section of State and Local Government Law,
       editor Benjamin E. Griffith.

       Others, Vol. 2, Third Parties During The Populist Period, by Darcy G. Richardson (2007:
       iUniverse, Inc., New York). Wrote the book’s Appendix, “Early Ballot Access Laws for
       New and Minor Parties.”

       Democracy's Moment
       edited by Ronald Hayduk and Kevin Mattson (2002: Rowman & Littlefield, Lanham,
Md.)

       The Encyclopedia of Third Parties in America
       edited by Immanuel Ness and James Ciment (2000: M.E. Sharpe, Inc., Armonk, N.Y.)

       Multiparty Politics in America
       edited by Paul S. Herrnson (1997: Rowman & Littlefield, Lanham, Md.)

       The New Populist Reader
       edited by Karl Trautman (1997: Praeger, Westport, Ct.)

       Additional articles published in these periodicals:
       University of Arkansas Little Rock Law Review
       Wall Street Journal
       American Review of Politics             1
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       The Long Term View
       University of Mass. Law Review
       California Journal
       Election Law Journal (two articles)
       Cleveland State Law Review
       Chronicles Magazine
       Price Costco Connection
       Fordham Urban Law Journal

       Also, I have written “Election Law Decisions” in each issue of the newsletter of the
       American Political Science Association’s Section on Representation and Electoral
       Systems, which appears twice a year, starting with the 2005 issues.

NATIONAL INTERVIEWS on Minor Parties, Independents, Ballots and Ballot Access
     NBC                           National Public Radio
     ABC                           Pacifica Radio
     CNN                           MSNBC

CASES: TESTIMONY or AFFIDAVITS (political party or candidate prevailing, or case
pending)
       Alaska: Libertarian Party v Coghill, state superior court, 3rd dist., 3AN-92-08181, 1992
       Court issued injunction enjoining enforcement of petition deadline for minor parties
       Arizona (3 cases): Campbell v Hull, 73 F Supp 2d 1081 (1999); Az. Libt. Party v Hull,
       superior ct., Maricopa Co. 96-13996, 1996. Nader v Brewer, 531 F 3d 1028 (9th cir., 2008)
       Arkansas (3 cases): Citizens to Establish a Reform Party v Priest, 970 F Supp 690 (E.D.
       Ark. 1996); Green Party of Ark. v Priest, 159 F.Supp.2d (E.D. Ark. 2001); Green Party of
       Ark. v Daniels, U.S. District Court, 448 F.Supp 2d 1056 (E.D.Ark. 2006).
       California: California Democratic Party v Jones, 530 US 567 (2000); California Justice
       Committee v Bowen, 2012 WL 5057625 (C.D.Cal.).
       Colorado: Ptak v Meyer, 94-N-2250, U.S. Dist. Ct., 1994. Court ordered Secretary of
       State to place Libertarian legislative candidate on ballot.
       Florida (2 cases): Libt. Party of Fla. v Mortham, 4:96cv258-RH, U.S. Dist. Ct., N.D.,
       1996. Court ordered Secretary of State to place Libertarian vice-presidential candidate on
       ballot. Reform Party v Black, 885 So.2d 303 (Fla. 2004).
       Georgia: Bergland v Harris, 767 F 2d 1551 (11th cir., 1985). U.S. Court of Appeals
       remanded case back to U.S. District Court. Before U.S. District Court acted, legislature
       substantially eased law, so case became moot.
       Hawaii: Libt. Party of Hi. v Waihee, cv 86-439, U.S. Dist. Ct., 1986. Court ordered
       Lieutenant Governor to extend petition deadline for new parties.
       Illinois: (3 cases): Nader v Ill. State Bd. of Elections, 00-cv-4401, U.S. Dist. Ct., N.D.,
       2000. Court ordered State Board of Elections to place candidate on ballot. Lee v Ill. State
       Bd. of Elections, 463 F.3d 763 (7th cir. 2006). Jones v McGuffage, 921 F Supp 2d 888
       (N.D.. Il, 2013).
       Iowa: Oviatt v Baxter, 4:92-10513, U.S. Dist. Ct., 1992. Court ordered Secretary of State
       to put Grassroots Party candidate for Congress on ballot.
       Kansas: Merritt v Graves, 87-4264-R, U.S. Dist. Ct., 1988. State did not defend three
       election laws and signed consent decree on independent petition deadline, requirement that
       independent petitions not be circulated outside of circulator's home precinct, and
       requirement that voters could            2only register in qualified parties. This case should
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       not be confused with another by the same name decided in December, 1988.
       Kentucky: Libt. Pty. of Ky. v Ehrler, 776 F Supp 1200 (E.D. 1991)
       Maryland (2 cases): Dixon v Md. State Adm. Bd. of Elec. Laws, 878 F 2d 776 (1989, 4th
       cir.); Green Party v Bd. of Elections, 832 A 2d 214 (Md. 2003).
       Montana: Kelly v Johnson, U.S. Dist. Ct. 08-25 (2012).
       Nevada (2 cases): Libt Pty. of Nev. v Swackhamer, 638 F Supp 565 (1986); Fulani v
       Lau, cv-N-92-535, U.S. Dist. Ct., 1992. Court ordered Secretary of State to put various
       minor parties on ballot.
       New Jersey (2 cases): Council of Alternative Political Parties v Hooks, 999 F Supp 607
       (1998); Council of Alternative Political Parties v State Div. of Elections, 781 A 2d 1041
       (N.J.Super. A.D. 2001).
       New York (3 cases): Molinari v Powers, 82 F Supp 57 (E.D.N.Y. 2000); Schulz w
       Williams, 44 F 3d 48 (2nd cir., 1994); Green Party of N.Y. v N.Y. State Bd. of Elections,
       389 F.3d 411 (2nd cir., 2004).
       North Carolina: Obie v N.C. Bd. of Elections, 762 F Supp 119 (E.D. 1991); DeLaney v
       Bartlett, 370 F.Supp.2d 373 (M.D. 2004).
       Ohio: Libertarian Party of Ohio v Blackwell, 462 F.3d 579 (6th cir. 2006).
       Oklahoma: Atherton v Ward, 22 F Supp 2d 1265 (W.D. Ok. 1998).
       Pennsylvania: Patriot Party of Pa. v Mitchell, 826 F Supp 926 (E.D. 1993).
       South Dakota: Nader v Hazeltine, 110 F Supp 2d 1201 (2000).
       Tennessee: Libt Party v Thompson, U.S. Dist. Ct., 793 F Supp 1064 (M.D. 2010); Green
       Party of Tennessee v Hargett, 882 F Supp 2d 959 (M.D..Tn. 2012).
       Texas: Pilcher v Rains, 853 F 2d 334 (5th cir., 1988).
       Virginia: Libt. Pty of Va. v Quinn, 3:01-cv-468, U.S. Dist. Ct., E.D. (2001). Court
       ordered State Board of Elections to print "Libertarian" party label on ballot next to name of
       Libertarian candidates.
       Washington: Washington State Democratic Central Committee v Washington State
       Grange, pending in U.S. Supreme Court, 11-1263.
       West Virginia (3 cases): State ex rel Browne v Hechler, 476 SE 2d 559 (Supreme Court
       1996); Nader v Hechler, 112 F.Supp.2d 575 (S.D.W.V., 2000); McClure v Manchin, 301 F
       Supp 2d 564 (2003).


CASES: TESTIMONY or AFFIDAVITS (political party or candidate not prevailing)
     Alabama: Swanson v Bennett, 490 F.3d 894 (11th cit. 2007).
     Arizona: (2 cases) Indp. Amer. Party v Hull, civ 96-1240, U.S. Dist. Ct., 1996; Browne v
     Bayless, 46 P 3d 416 (2002).
     Arkansas (2 cases): Langguth v McKuen, LR-C-92-466, U.S. Dist. Ct., E.D., 1992;
     Christian Populist Party v Sec. of State, 650 F Supp 1205 (E.D. 1987).
     California: Socialist Workers Party v Eu, 591 F 2d 1252 (9th cir., 1978).
     Florida (2 cases): Fulani v Smith, 92-4629, Leon Co. Circuit Court, 1992; Libertarian
     Party of Fla. v State of Fla., 710 F 2d 790 (11th cir., 1983).
     Georgia (2 cases): Libertarian Party of Ga. v Cleland, 1:94-cv-1503-CC, U.S. Dist. Ct.,
     N.D. (1994); Esco v Secretary of State, E-53493, Fulton Co. Superior Court, 1998.
     Idaho: Nader v Cenarrusa, cv 00-503, U.S. Dist. Ct., 2000.
     Illinois: Libt Party v Rednour, 108 F 3d 768 (7th cir., 1997).
     Kansas: Hagelin for President Committee v Graves, 804 F Supp 1377 (1992).
     Maine (2 cases): Maine Green              Party v Diamond, 95-318, U.S. Dist. Ct., 1995;
                                              3
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Maine Green Party v Secretary of State, 96-cv-261, U.S. Dist. Ct., 1996.
      Maryland (2 cases): Ahmad v Raynor, R-88-869, U.S. Dist. Ct., 1988; Creager v State
      Adm. Bd. of Election Laws, AW-96-2612, U.S. Dist. Ct., 1996.
      Missouri: Manifold v Blunt, 863 F 2d 1368 (8th cir. 1988).
      New Hampshire: Werme v Gov. of N.H., 84 F 3d 479 (1st cir., 1996).
      North Carolina: Nader v Bartlett, 00-2040, 4th cir., 2000.
      Ohio: Schrader v Blackwell, 241 F 2d 783 (6th cir., 2001).
      Oklahoma (3 cases): Rainbow Coalition v Okla. State Elec. Bd., 844 F 2d 740 (1988);
      Nader v Ward, 00-1340, U.S. Dist. Ct., 1996; Clingman v Beaver, __US__(May 2005).
      Oregon: Libt Party v Roberts, 737 P 2d 137 (Ore. Ct. of Appeals, 1987).
      Texas (2 cases): Texas Indp. Party v Kirk, 84 F 3d 178 (5th cir., 1996); Nat. Comm. of
      U.S. Taxpayers Party v Garza, 924 F Supp 71 (W.D. 1996).
      Virginia: Wood v Meadows, 207 F 3d 708 (4th cir., 2000).
      West Virginia: Fishbeck v Hechler, 85 F 3d 162 (4th cir., 1996).
      Wyoming: Spiegel v State of Wyoming, 96-cv-1028, U.S. Dist. Ct., 1996.

QUALIFIED EXPERT WITNESS
     Fishbeck v Hechler, 85 F 3d 162 (4th cir. 1996, West Virginia case)
     Council of Alternative Political Parties v Hooks, 999 F Supp 607 (1998, N.J.)
     Citizens to Establish Reform Party v Priest, 970 F Supp 690 (E.D. Ark, 1996)
     Atherton v Ward, 22 F Supp 2d 1265 (W.D.Ok. 1998)
     Calif. Democratic Party v Jones, 530 US 567 (2000)
     Swanson v Bennett, not reported, U.S. Dist. Ct., m.d.Ala. (02-T-644-N)
     Beaver v Clingman, 363 F 3d 1048 (10th cir., 2004, Okla. case)
     Green Pty v N.Y. Bd. Elec., 267 F Supp 2d 342 (EDNY 2003), 389 F.3d 411 (2nd 2004)
     Lawrence v Blackwell, 430 F.3d 368 (6th cir. 2005)

In all cases in which I was presented as an expert, the opposition accepted that designation, except
in the Green Party of New York case. The U.S. District Court ruled that I qualify as an expert.
See headnote #1 at page 342, and footnote nine on page 350. The 2nd circuit agreed, 389 F.3d 411
(2004), at 421.

SPEAKING ENGAGEMENTS: Colleges and Scholarly Meetings
     Panel of New York City Bar Association, 1994. Ballot access.
     Amer. Political Science Assn., nat. conventions of August 1995 and August 1996. Papers.
     Capital University School, law school class, Columbus, Ohio, 1996. Guest lecturer.
     Cal. State U., course in political science, Hayward, 1993 and 1996. Guest lecturer.
     San Francisco City College, course in political science, 1996 and 1997. Guest      lecturer.
     Providence College, R.I., Oct. 1997, seminar on ballot access.
     Harvard U., JFK School of Gov't, Oct. 18, 1995, guest lecturer, ballot access.
     Voting Integrity Project national conference, Apr. 1, 2000, speaker on ballot access.
     Center for Voting & Democracy nat. conference, Nov. 30, 2003, speaker on ballot access.
     Robert Dole Institute of Politics, U. of Kansas, one of 5 panel members, Oct. 25, 2007.




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